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                                                          RETURN OF SERVICE

                                               UNITED STATES DISTRICT COURT
                                                 Western District of Tennessee
Case Number: 23CV2050-TLP

Plaintiff:
HYC LOGISTICS,INC
vs.
Defendant:
OJCOMMERCE,LLC D/B/A OJ COMMERCE,LLC AND JACOB WEIIS, INDIVIDUALLY,

For:
Kahane Joshua
GLANKLER BROWN PLLC
6000 Poplar Avenue
Suite 400
Memphis, TN 38119

Received by PRO PROCESS SERVER & COURIER SERVICES, INC on the 28th day of February, 2023 at 7:56 am to be served on
OJCommerce,LLC, D/B/A OJ COMMERCE,LLC, RA; JACOB WEISS, 3076 NORTH COMMERCE PKWY, MIRAMAR, FL 33025.

I, Ramon Almonte, do hereby affirm that on the 10th day of March, 2023 at 11:00 am, I:

served a CORPORATION by delivering a true copy of the SUMMONS AND COMPLAINT WITH EXHIBITS. with the date and hour of
service endorsed thereon by me, to: Leslie Ordeo as Employee for OJCommerce,LLC, D/B/A OJ COMMERCE,LLC, RA; JACOB
WEISS, at the address of: 3076 NORTH COMMERCE PKWY, MIRAMAR, FL 33025, and informed said person of the contents
therein, in compliance with state statutes.

Additional Information pertaining to this Service:
2/28/2023 10:16 am Attempted Service at 3076 NORTH COMMERCE PKWY, Per front desk employee Jacob Weiss is not in the
office does not have a set schedule, no other manager available.
3/2/2023 3:42 pm Attempted Service at 3076 NORTH COMMERCE PKWY, Per front desk employee Jacob Weiss is not in the office
does not have a set schedule, no other manager available.
3/9/2023 3:15 pm Attempted Service at 3076 NORTH COMMERCE PKWY, Per front desk employee Jacob Weiss is not in the office
does not have a set schedule, no other manager available.


I certify that I am over the age of 18 and have no interest in the above action.




                                                                                                   Ramon Almonte

                                                                                                   PRO PROCESS SERVER & COURIER SERVICES,
                                                                                                   INC
                                                                                                   2311 FLAMINGO DRIVE
                                                                                                   MIRAMAR, FL 33023
                                                                                                   (305) 303-2609

                                                                                                   Our Job Serial Number: IVN-2023000224




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